Case: 4:06-Cv-01117-RWS Doc. #: 280 Filed: 02/25/08 Page: 1 of 2 Page|D #: 1804

UNITED S'I`.ATES DISTR.ICT COUR.T
EASTER.N DISTRICT OF MISSOURI

EASTERN DIVISION
MERIDIAN ENTERPRISES /S»() wm
coRPORA'nON,
P\zjmiff, ` _ w)_
vs. case No. =064:v-1117.RWS l/”/"e

jNR INC., KAWASA:<J MoToRs coRP., U.s.A.,
MITSUBISHI MOTORS NORTH

AMERICA, INC., md TOSHIBA AMBRICA
INFORMATION sYsTEMs, INC..,

\.J\_/\_/V\_/\_J\-I\_/v\./`_/VV

Defendants.

 

Plaintiff, Meridian Enberprises Corpomtion (“Meridian”), filed its Second Amended

Complsint in the United States District Coutt for the Eastern District of Missoui:i alleging _
infringement of its Unired sims mm latent No. 5,025,372 (£he “‘372 Patmc”) by JNR, lnc.,
Kawasaki Motors Corp., U.S.A., Mitsubishi Motors North Ame.rica, Inc., and Toshiba America
Information Systems, Inc. ]NR filed its Counterclaim against Meridian seeking a declaratory
judgment that the ’372 Patent is invalid and not infringed Meddian and _]NR. hereby stipulate and
agree that the knowing should be ent¢r¢d= ' 7

IT IS ORDERED, AD]UDGED .AND DECREED:

1. All claims and counterclaims between Meridia.n and ]NR herein are dismissed with
prejudice, with each party to bear its own costs, expenses and attorney fees.

2. As to Toshiba, Kawasaki and Mitsubishi, their responses to the Second Amended
Complai.nt have not yet been filed, but Meridian hereby dismisses with prejudice its Second

Amended Complsint against them.

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Dated this day of . 2008.

 

]udge, United Staces Discrict Court .
Ezstern District of Missou.ti

Presented By:

 

Stevc Zlatos

Lisa A. I-Iiday

WOODARD, EMHARD’I`, MORIARTY, MCNE'I'I` & I-IENRY LLP
Attomey.s ibt 1913th Meridim Ente:pdscs Corpomtion

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]. Bennett Clark
BRYAN CAVE LLP
Attomey fbr]NR, Inc.

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Artomey 1b1 Tos!u'bs Amen'ca
Inibnnation Systems, Inc.

